    Case 1:01-cv-12257-PBS Document 6528-8 Filed 09/22/09 Page 1 of 4




                                 Exhibit 7



United States of America ex rel. Ven-a-Care of the Florida Keys, Inc v. Abbott Laboratories,
                  Inc.; Dey, Inc., et al.; Boehringer Ingelheim Corp., et al.;
                               Civil Action No. 01-12257-PBS


        Exhibit to the September 22, 2009, Declaration of George B. Henderson, II
       In Support of Plaintiff’s Response to Defendants’ Combined Local Rule 56.1
      Statement of Additional Material Facts Pertinent to the United States’ Motions
                     for Partial Summary Judgment Against Defendants
                 Case 1:01-cv-12257-PBS Document 6528-8 Filed 09/22/09 Page 2 of 4
Wells, Jerry - May 26, 2005 08:00:00 a.m.




  618:1                             IN THE CIRCUIT COURT OF THE SECOND JUDICIAL CIRCUIT

       2                                           IN AND FOR LEON COUNTY, FLORIDA

       3                        THE STATE OF FLORIDA ex rel.

       4                        VEN-A-CARE OF THE FLORIDA KEYS, INC.,                 VOLUME 5

       5                        a Florida Corporation, by and through

       6                        its principal officers and directors,             PAGES 618 - 786

       7                        ZACHARY T. BENTLEY and T. MARK JONES,

       8                                    Plaintiffs,

       9                                                              CIVIL ACTION NO. 98-3032A

      10                        vs.

      11                        BOEHRINGER INGELHEIM CORPORATION;

      12                        DEY, INC.; DEY, L.P.; EMD PHARMACEUTICALS

      13                        INC.; LIPHA, S.A.; MERCK, KGaA; MERCK-LIPHA,

      14                        S.A.; SCHERING CORPORATION; SCHERING-PLOUGH

      15                        CORPORATION; ROXANE LABORATORIES, INC.;

      16                        and WARRICK PHARMACEUTICALS CORPORATION,

      17                                    Defendants.

      18                                                                          /

      19                        VIDEOTAPED DEPOSITION OF:      JERRY F. WELLS

      20                        TAKEN AT THE INSTANCE OF:      The Defendants

      21                        DATE:                          May 26, 2005

      22                        TIME:                          Commenced at 8:00 a.m.

      23                                                       Concluded at 12:30 p.m.

      24                        LOCATION:                      Broad and Cassel

      25                                                       215 South Monroe Street, #400




September 19, 2009 12:53 pm                                                                         Page 1
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Wells, Jerry - May 26, 2005 08:00:00 a.m.




  619:1                                                        Tallahassee, Florida

       2                        REPORTED BY:                    ANITA M. PEKEROL, CRR, CP, CM

       3                                                        Certified Realtime Reporter

       4                                       ACCURATE STENOTYPE REPORTERS, INC.

       5                                           2894-A Remington Green Lane

       6                                           Tallahassee, Florida     32308

       7                                                   (850) 878-2221

       8                                                                                      619

       9                        APPEARANCES:

      10                             REPRESENTING THE DEFENDANTS DEY, INC., DEY, L.P.,

      11                             EMD PHARMACEUTICALS, INC.:

      12                                    WILLIAM A. ESCOBAR , ESQUIRE

      13                                    ANTONIA F. GIULIANA, ESQUIRE

      14                                    Kelley Drye & Warren

      15                                    101 Park Avenue

      16                                    New York, NY   10178

      17                                    212-808-7800

      18                                    KELLY OVERSTREET JOHNSON, ESQUIRE

      19                                    Broad and Cassel

      20                                    215 South Monroe Street, #400

      21                                    Tallahassee, Florida   32301

      22                                    850-681-6810

      23                             REPRESENTING THE DEFENDANTS SCHERING CORP.,

      24                             SCHERING-PLOUGH AND WARRICK PHARMACEUTICALS:

      25                                    DANA TOOLE, ESQUIRE




September 19, 2009 12:53 pm                                                                         Page 2
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Wells, Jerry - May 26, 2005 08:00:00 a.m.




  709:1              21              Q.        Let me say that again.    Have you ever

       2             22       made that correct -- that request, and that is a

       3             23       request that Florida Medicaid needed accurate and

       4             24       truthful wholesale price information from Warrick?

       5             25                         MR. AZORSKY:   Objection to form.

       6                                                                               705

       7              1                         THE WITNESS:   If I talked to somebody

       8              2              from Warrick, I have made that perfectly

       9              3              clear.      I don't recall whether I have spoken

      10              4              with someone that was exclusively an

      11              5              employee of Warrick.      But I have made it

      12              6              very clear to representatives of the parent

      13              7              company.

      14              8       BY MR. McDONALD:

      15              9              Q.         And when did you make that very clear

      16             10       to representatives of Schering?

      17             11              A.         On multiple occasions.   I don't have a

      18             12       date to quote to you, because we have discussed it

      19             13       at length many times.

      20             14              Q.         When was the earliest time you can

      21             15       recall discussing it?

      22             16              A.         Before the beginning of this suit in

      23             17       1988, '87, when we first adopted WAC prices as a

      24             18       basis.        And --

      25             19              Q.         Warrick --




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